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                           UNITED STATES DISTRICf COURT
                          FOR TilE DISTRICf OF NEW JERSEY

  IAN STEINER, lndividnally and on
                                              2!12-cv-02531
  behalf of those similarly situated,

                        Plaintiff
  vs.
  RAWLINGS SPORTING GOODS                      FINAL APPROVAL ORDER AND JUDGMENT
  COMPANY, INC.,
                        Defendant.


         After notice and hearing pursuant to law, the Court enters the following Orders and Final
  Judgment granting approval of the above class action settlement as follows.

         The Parties (as defined below) have jointly moved for an order finally approving their

  Settlement and taking certain other actions. Their joint motion for final approval of Settlement

  (the "Joint Motion'') was heard by this Court on April 7, 2014, pursuant to this Court's

  Preliminary Approval Order entered on October 16l 2013 and subsequent Order dated February

  19,2014. Counsel for the Parties appeared and were heard by the Court. No objectors appeared

  at the hearing, and there were no objections filed pursuant to the instructions contained in the

  Court's February 19, 2014 Order. Having given due consideration to the Parties' Settlement

  Agreement, including its attached exhibits submitted with their preliminary approval motion,

  the Joint Motion, all other papers filed in support of the Settlement filed by the Parties, Stacy
  Orlick's January 6, 2014 submission [ECF #41, at 2] filed in advance of the Parties' Motion for

  Final Approval, the absence of any objections to the Settlement, the record       mthis case, the
  arguments at the hearing on April 7, 2014, the fact that no individuals and/or entities appeared

  at the hearing to offer any objection, and all other materials relevant to this

  hereby finds. concludes, orders and adjudges this   ~ day of -----i~-~--_;) 2014
  as follows (and for the reasons stated on the record on April 7, 2014):

         (1)     The Court has both subject matter jurisdiction and personal jurisdiction as to this
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  action and all parties, including plainti:ff(' 1Plaintiff''), Settlement Class Members and

  defendant Rawlings Sporting Goods, Inc. ('•Rawlings'•) (collectively the ''Parties .. )in the

  Rawlings Actions.

         (2)     The      Settlement       Class        certified         the     Preliminary

  Approval Order was defined as follows:

         All persons who purchased one or more Rawlings Power Balance products in
         the United States during the period from July 1, 2010 to October 11, 2013.
         Excluded from the Settlement Class are (a) Defendants and their predecessors,
         affiliates, subsidiaries, officers, directors and employees, (b) counsel for any of
         the settling parties in this action, and (c) any and all judges and justices
         assigned to hear any aspect of this action (hereinafter the "Settlement Class'').
  The Court certifies this action as a class action and finds that the prerequisites for a class action

  under Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure have been satisfied in that:

  (a) the number of Settlement Class Members is so numerous that joinder of all members thereof

  is impracticable; (b) there are questions of law and fact common to the Settlement Class; (c) the

  claims of the Court appointed Representative Plaintiff, are typical of the claims ofthe Settlement

  Class represented; (d) the Representative Plaintiff has and will continue to fairly and adequately

  represent the interests of the Settlement Class; (e) the questions of law and fact common to the

  members of the Settlement Class predominate over any questions affecting only individual

  members of the Settlement Class; and (f) a class action is superior to other available methods for

  the fair and efficient adjudication of the controversy.

         (3)     The Parties provided notice of this proposed Settlement pursuant to the

  Preliminary Approval Order.

         (4)     The Court determines that the Publication Notice that has been provided pursuant

  to the Settlement Agreement and the Preliminary Approval Order: (a) provided the best

  practicable notice; (b) was reasonably calculated, under the circumstances, to apprise Settlement

  Class Members of the pendency of the Rawlings Actions, the terms of the proposed Settlement




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   and their right to appear or object to or exclude themselves from proposed Settlement; (c)      was
   reasonable and constituted due, adequate and sufficient notice to all persons entitled to receive

   notice; and (d) fully complied with the laws and Constitution of the State of New Jersey and the

   United States Constitution and any other applicable law.

          (5)     The Court detennines that full opportunity has been given to Settlement Class

   Members to opt out of the Settlement Agreement, object to the terms of the Settlement or to

   Class Counsel's request for attorneys' fees and expenses, and otherwise participate in the

   fairness hearing on April 7~ 2014; and that no such opt-outs or objections were received by the

   Court that were consistent with the terms of the Court's February 19, 2014 Order.

          (6)    The Court has carefully considered the materials before it and has made its

   independent judgment. Plaintiff and the Settlement Class Members face significant risks in the

   related actions, the possibility of any greater ultimate recovery in litigation is highly speculative

   and any such recovery would occur only after considerable additional delay. Moreover, the

   Parties have reached the Settlement Agreement after significant investigation and extensive

   arms-length negotiations. It would be necessary to litigate class certification issues, including

   potential costly appeals in the event of a class certification order, and necessary to continue

   prosecuting the action through a judgment in the trial courts and, even if successful there,

   through any appeals Defendant may take, all of which would substantially delay the receipt of

   benefits, if any were obtained, by the Members of any Settlement Class. Accordingly, having

   considered the foregoing, the number of Settlement Class Members who have asked to be

   excluded from the Settlement and the level of opposition to the Settlement agreement and

   balancing the costs, risks and delay of continued litigation against the benefits provided to the

   Settlement Class by the Settlement set forth in the Settlement Agreement, the lack of evidence

   of collusion and based on the Court's o'Wll knowledge of the case, the Court fmds and concludes




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  that the Settlement is in the best interests of the Settlement Class and is a fair~ reasonable and

  adequate compromise of the claims asserted in the action.

         (7)    The Settlement and the terms of Settlement as described in the Settlement

  Agreement are, accordingly, approved and confirmed as fair, reasonable and adequate to all

  Settlement Class Members,

         (8)    The parties are hereby directed to proceed with and implement the Settlement

    Agreement in accordance with its tenns.

         (9)    The Court dismisses, on the merits and with prejudice, all claims currently

    pending before it that belong to Settlement Class Members. No Settlement Class Members

    requested exclusion from the Settlement Class in the time and manner provided for in the

    Settlement Agreement.

         (10)   As of this date, all Settlement Class Members shall be deemed to be bound by the

  Final Approval Order and Judgment entered herein and to have released Defendant and Rawlings

  Released Parties as defined in Article II Paragraph 23 of the Settlement Agreement from all of

  the Class Released Claims defined in the Settlement Agreement with respect to Rawlings Power

  Balance Products as follows:
         any and all actions, causes of action, claims, demands, liabilities, obligations, fees,
         costs, sanctions, proceedings, and/or rights of any nature and description
         whatsoever, including, without limitation, claims for fraud,, violations of any state

         or federal statutes, rules or regulations, or principles of coilllllon law, whether

         liquidated or unliquidated, known or unknown, in law or in equity, whether or not

         concealed or hidden, that were, have been or could have been, now, in the past, or

         in the future, asserted in the Steiner Action and Rawlings Actions, or any other

         actions through the date the Final Approval Order and Judgment is entered,

         including but not limited to: (i) whether the advertising for Rawlings Power



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         Balance Products constitutes fraud; (ii) whether the advertising of Rawlings Power

         Balance Products violates any applicable laws, rules or regulations, including but

         not limited to state or federal laws, rules or regulations; (iii) whether Rawlings or

         any other person misrepresented the benefits and characteristics of Rawlings

         Power Balance Products; (iv) whether Rawlings or any other person made false or

         misleading statements when advertising Rawlings Power Balance Products; (v)

         whether Rawlings or any other person engaged in fraudulent, unfair or unlawful

         business practices in. violation of California Business & Profissions Code section.

         17200, et seq. and/or section 17500, et seq., (vO whether Rawlings or any other

         person violated any provisions of the California Consumers Legal Remedies Act,

         California Civil Code section 1770, et seq.; (vii) whether Rawlings or any other

         person violated any provisions of any state consumer protection law in connection

         with the sale, advertising and marketing of Rawlings Power Balance Products; and

         (ix) whether Rawlings or any other person were unjustly enriched.

         This release expressly includes any claims that were or could have been asserted

         in any action against Rawlings. "Class Released Claim.s' 1 also means any and all

         actions, causes of action, claims, demands, liabilities, obligations, fees, costs,

         sanctions~   proceedings, and/or rights of any nature and descriptiott whatsoever,

         including, without limitation, violations of any state or federal statutes, rules or

         regulations, or principles of common law, whether liquidated or unliquidated,

         knows or unknown, in law or in equity, whether or not concealed or hidden, that
         could have been asserted in the Steiner Action or Rawlings Actions.

         (11)   Upon the Effective    Date~   Defendant and the Rawlings Released Parties shall be

  deemed to have, and by operation of this Final Approval Order and Judgment shall have, fully,

  finally and forever released, relinquished and discharged plaintiffs in the Rawlings Actions, each


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   and all of the Settlement Class Members and all plaintiffs' counsel and their agents from all claims,

   including all claims for malicious prosecution and unknown claims, arising out of, relating to, or

   connected with the institution, prosecution, assertion or resolution of the Rawlings Actions or the

   Class Released Claims.

           (12)   Upon the entry of this Final Approval Order and Judgment (a) enforcement of the

   Settlement Agreement shall be the exclusive remedy for Settlement Class Members with respect

  to all released claims (as defined in the Settlement Agreement and this Final Approval Order

   and Judgment); and (b) Rawlings (as defined in the Settlement Agreement and this Final

   Approval Order and Judgment) shall not be subject to liability or expense of any kind to any of

  the Settlement Class Members, all of whom are hereby permanently barred and enjoined from

   initiating, asserting or prosecuting against Rawlings or any Rawlings resellers in any federal or

   state, court, or tribunal, any released claim.

           (13)    The Court, having considered the petition or motion of Class Counsel for an award

   of attorneys' fees and reimbursement of expenses, and having considered fully the several factors

   considered relevant hereby grants the petition and awards to Class Counsel attorneys! fees in the

   amount of$90~000 and expenses in the amount of$3,628.76, The Court also awards plaintiff in

   the Steiner Action, Ian Steiner, an incentive award in the amount of $1,500. Finally, the Court

   awards Matthew Goldberg, the named plaintiff in a related action filed against Rawlings in

   another jurisdiction (Matthew Goldberg v. Rawlings Sporting Goods Company, Inc., Case No.

   BC488646 (Cal. Sup Ct)), an incentive award in the amount of$1,500.

           (14)    All Parties are bound by this Final Approval Order and Judgment and by the

   Settlement Agreement

           (15)    Without affecting the finality of this Final Approval Order and Judgment in any

   way, the Court reserves continuing and exclusive jurisdiction over the Parties, including all
   Settlement Class Membe1s and the execution, consummation, administration and enforcement of


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  the tenns of the Settlement Agreement and the terms of this Final Approval Order and Judgment,

  including entry of any further orders as may be necessary and appropriate.

               (16)   The Court finds that during the course of this litigation, the Parties and their

  respective counsel at all times complied with the requirements of Rule 11 of the Federal Rules

  Civil Procedure.      ~
  ITIS SOORDEREDi

  Dated:¥                          , 2014




  The Honorable Madeline C. Arleo

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